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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              WESTERN DIVISION


UNITED STATES

VS.                          CRIMINAL ACTION NO. 5:07-CR-17(DCB)(FKB)
                                     CIVIL ACTION NO. 5:15-cv-15(DCB)

CHARLES EDWARD PRICE


                                    ORDER

        This cause is before the Court on the defendant Charles Edward

Price’s Motion to Correct Sentence pursuant to 28 U.S.C. § 2255

(docket entry 465).        From a review of the claims raised in the

instant motion, the Court concludes that the motion is successive

within the meaning of the Antiterrorism and Effective Death Penalty

Act of 1996 (AEDPA) and United States v. Orozco-Ramirez, 211 F.3d

862, 867 (5th Cir. 2000).          Therefore, as the Court previously

instructed the defendant, he must “move in the appropriate court of

appeals for an order authorizing the district court to consider the

application.”      28 U.S.C. § 2244(b)(3)(A).         A three-judge panel of

the court of appeals must first determine whether this Court should

consider the instant motion.        Id. § 2244(b)(3)(B).      The panel will

authorize the filing of a second or successive motion only upon a

prima    facie   showing   that   the   motion   is   based   on:     (1)   newly

discovered evidence that, if proven and viewed in light of the

evidence as a whole, would be sufficient to establish by clear and

convincing evidence that no reasonable factfinder would have found

him guilty of the offense; or (2) a new rule of constitutional law,
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made retroactive to cases on collateral review by the Supreme

Court, that was previously unavailable.           See id. § 2244(b)(3)(C),

2255. In this case, the Fifth Circuit has not issued the requisite

order authorizing this Court to consider the successive motion to

vacate.

     Therefore, the Court shall construe the instant action as a

second or successive motion to vacate filed under 28 U.S.C. § 2255,

and shall DISMISS the action without prejudice pending review by a

three-judge panel of the court of appeals.

     Accordingly,

     IT IS HEREBY ORDERED that the defendant’s Motion to Correct

Sentence pursuant to 28 U.S.C. § 2255 (docket entry 465) is

DISMISSED WITHOUT PREJUDICE;

     FURTHER ORDERED that the defendant must file in the Fifth

Circuit   Court   of   Appeals   a   motion     pursuant    to     28   U.S.C.    §

2244(b)(2) within 30 days from the date of entry of this Order, and

if he fails to file such a motion within that time, an order will

be entered denying authorization.

     SO ORDERED, this the 22nd day of September, 2016.



                                          /s/ David Bramlette
                                          UNITED STATES DISTRICT JUDGE




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